Case 2:03-cV-02649-STA-tmp Document 45 Filed 06/15/05 Page 1 of 7 Page|D 111

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IN THE UNITED sTATEs DISTRICT coURT ~ j vir;_
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 95 JU,J
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MEMPHIS-SHELBY COUNTY AIRPORT
AUTHORITY, et al.,

Plaintiff,

No. 03-2649-13;:= \/

VS.

UNITED STATES FIRE INSURANCE
CO.,

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Defendant.

 

ONEBEACON AMERICAN INSURANCE
COMPANY, et al.,

Plaintiff.

No. 04-2432-B[An

VS.

JACO AIRFIELD CONSTRUCTION,
INC., et al.,

~_rvvvvvvvv~._¢

Defendant.

 

ORDER DENYING PLAINTIFF'S MOTION FOR ATTORNEY'S FEES

 

Before the Court is Plaintiff OneBeacon American Insurance
Company's (“OneBeacon”} Motion, for Attorney’s Fees, which is
incorporated in Plaintiff’s motion to compel, filed on January 18,

2005, (dkt #29), and in Plaintiff's response to Defendant JACO

Ti'a‘as document entered on the docket sheet in compliance
with Ruie 55 and/or 79{&) FRCP on ‘ ’

Case 2:03-cV-02649-STA-tmp Document 45 Filed 06/15/05 Page 2 of 7 Page|D 112

Airfield Construction, Inc.'s (“JACO”) appeal from the order
granting the Plaintiff’s motion to compel discovery. Defendant
filed its response on May 20, 2005. For the following reasons, the
motion is DENIED.

I. BACKGROUND

Plaintiff served its First Set of Interrogatories and First
Request for Production of Documents on JACO on September 21, 2004.
JACO served its responses on Plaintiff on. January 15, 2005.
Plaintiff contends that JACO’s responses were inadequate because
they referred Plaintiff to depositions and other documents. In its
response, JACO asserted that the burden in producing the documents
and answering the interrogatories was the same for JACO as it was
for the Plaintiff, and therefore, JACO's discovery responses were
adequate because they properly referred Plaintiff to records where
discovery answers could have been ascertained. On March 1, 2005,
Magistrate Judge Anderson granted the Plaintiff's motion to compel
and held that when answering interrogatories and document requests
the responding party can refer to depositions and other documents,
but the response must adopt and incorporate the deposition
testimony and state the exact page and line where the information
can be found. JACO objected to the order and filed an appeal with
the District Judge. On April 26, 2005, the District Judge affirmed
Judge Anderson's order and referred the Plaintiff's motion for

attorney's fees to this Magistrate Judge. The Plaintiff seeks an

Case 2:03-cV-02649-STA-tmp Document 45 Filed 06/15/05 Page 3 of 7 Page|D 113

award of reasonable attorney's fees incurred by its counsel in
moving to compel and in responding to JACO's objections to Judge
Anderson’s order.
II . ANALYSIS

Rule 37 of the Federal Rules of Civil Procedure states that if
a motion to compel is granted “the court shall . . . require the
party or deponent whose conduct necessitated the motion or the
party or attorney advising such conduct or both cf them to pay the
moving party the reasonable expenses incurred in making the motion,
including attorney's fees unless the court finds that . . . the
opposing party's nondisclosure, response, or objection was
substantially justified, or that other circumstances make an award
of expenses unjust." Fed. R. Civ. P. 37(a)(4)(A). In the original
motion to compel, the Plaintiff argued that in order for JACO’s
responses to the interrogatories and production requests to be
adequate, the answers must be complete in themselves and may not
refer to depositions or other documents. JACO argued in response
to the notion to compel that the given answers were adequate
because they properly referred the Plaintiff to records where the
desired information could be obtained. In granting the motion to
compel, Judge Anderson held that references to depositions and
other documents are permissible if the responding party
specifically identifies the page and line numbers where the

responsive information can be found. Therefore, because there was

Case 2:03-cV-02649-STA-tmp Document 45 Filed 06/15/05 Page 4 of 7 Page|D 114

a reasonable dispute as to the specificity required of the
responses, JACO's objection to the motion to compel was
substantially justified. ln addition, the Court is not inclined,
under the circumstances of this particular case, to sanction JACO
for exercising its right to appeal.

III. CONCLUSION

Accordingly, the Court DENIES the motion for attorney's fees.

w
TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

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Date '

   

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 45 in
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Case 2:03-cV-02649-STA-tmp Document 45 Filed 06/15/05 Page 6 of 7 Page|D 116

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Case 2:03-cV-02649-STA-tmp Document 45 Filed 06/15/05 Page 7 of 7 Page|D 117

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